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 1 Law Offices of Ron Peters
   RON PETERS (SBN: 45749)
 2 50 Fullerton Court, Suite 207
   Sacramento, California 95825
 3 Telephone: (916) 922-9270
    Facsimile: (916) 922-2465
 4 email: ronslaw207@sbcglobal.net
 5 Attorney for Defendant
   KELLY MILES
 6
 7
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9                                            -o0o-
10
     UNITED STATES OF AMERICA,               )     CASE NO.: 10-cr-00361-LKK
11                                           )
                   Plaintiff,                )
12                                           )     STIPULATION AND ORDER TO
     v.                                      )     CONTINUE STATUS CONFERENCE
13                                           )
     KELLY MILES,                            )
14                                           )
                   Defendant.                )
15                                           )

16         The United States of America, through its counsels of record, Mc Gregor W. Scott, United

17 States Attorney for the Eastern District of California, and Carolyn K. Delaney, Assistant United States
18 Attorney, and defendant Kelly Miles, through his attorney, Ronald Peters, Esq, hereby stipulate and
19 agree that the status conference scheduled for April 19, 2011, at 9:15 am should be continued to May
20 24, 2011 at 9:15 a.m.
21         Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and

22 Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that time
23 be excluded under this provision from April 19, 2011, to and including May 24, 2011.
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25 ///
26 ///
27 ///
28 ///


          U.S. vs. MILES                                                STIPULATION AND ORDER TO
                                                                        STATUS CONFERENCE
             Case 2:10-cr-00361-KJM Document 96 Filed 04/19/11 Page 2 of 2


 1 DATE: April 18, 2011                                   Respectfully submitted
 2
                                               By:        /s/Ron Peters
 3                                                        RON PETERS
                                                          Attorney for Defendant
 4                                                        JOHN ALLEN LEE
 5
 6 DATE: April 18, 2011                                   By:/s/ Carolyn K. Delaney
                                                          Carolyn K. Delaney
 7                                                        Assistant U.S. Attorney
 8
 9
10
11
12                                 ORDER FINDING EXCUSABLE TIME
13          For the reasons set forth in the accompanying stipulation and declaration of counsel,
14 the status conference in the above-entitled action is continued to May 24, 2011 at 9:15 a.m.
15 The court finds excusable time in this matter from April 19, 2011 through May 24, 2011
16 under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and
17 to allow reasonable time necessary for effective presentation. For the reasons stipulated by
18 the parties, the Court finds that the interest of justice served by granting the requested
19 continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
20 U.S.C. 3161(h)(8)(A), (h)(8)(B)(iv).
21
22          IT IS SO ORDERED.
23
24
25 Date: April 18, 2011
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27
28


           U.S. vs. MILES                                                  STIPULATION AND ORDER TO
                                                                           STATUS CONFERENCE
